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                          IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF IDAHO


 JOHN SCOTT NICHOLSON,                          )
                                                )   Case No. 1:22-cv-7
                    Plaintiff,                  )
                                                )
 vs.                                            )   COMPLAINT AND DEMAND FOR
                                                )   JURY TRIAL
 UNITED STATES OF AMERICA,                      )
                                                )
                   Defendant.                   )
                                                )
                                                )


       COMES NOW the Plaintiff, John Scott Nicholson, by and through his attorneys of record,

Hepworth Holzer, LLP, with causes of action against the Defendant, United States of America,

hereby states and alleges as follows:

                                          PARTIES

       1. At all times relevant herein, Plaintiff John Scott Nicholson (“Plaintiff” or “Mr.

Nicholson”), has been an individual residing in Boise, Ada County, Idaho.




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       2. Defendant United States of America is the real party in interest for the Boise VA

Medical Center, a community health organization under the provisions of the Public Health

Services Act, 42 U.S.C. § 201 et seq.

       3. Dr. Lynnsey Stewart is a medical doctor licensed to practice medicine in the State of

Idaho who performed services for and was an agent of the Boise VA Medical Center.

                                JURISDICTION AND VENUE

       4. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1346 and 1367(a).

       5. Venue is appropriate in this Court pursuant to 28 U.S.C. § 1402(b).

                                 GENERAL ALLEGATIONS

       6. At all times relevant herein, The Boise VA Medical Center was, and now is, a non-profit

corporation duly organized and existing under the laws of the State of Idaho and is transacting

business in Ada County, Idaho, as The Boise VA Medical Center (“VA”). Upon information and

belief, VA is deemed a community health center under provisions of the Public Health Services

Act, Section 330(e).

       7. On August 20, 2019, Mr. Nicholson presented to the VA with complaints of hip pain,

and was evaluated by Dr. Stewart. Dr. Stewart ordered an MRI, which was taken on September

4, 2019. After review of the MRI results, Dr. Stewart told Mr. Nicholson he needed to walk more

since it was most likely a muscular issue. Dr. Stewart also administered a cortisone injection into

Plaintiff’s hip on September 9, 2019 based on his diagnosis.

       8. In March of 2021, Mr. Nicholson was vacationing in Honduras when he began

experiencing excruciating pain in his right leg. Mr. Nicholson contacted the VA and his PCP, Dr.

William G. Weppner. Dr. Weppner reviewed Mr. Nicholson’s MRI from September 4, 2019 and

informed Plaintiff he had a renal cell carcinoma that is visible on this MRI.




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       9. Mr. Nicholson returned to Idaho and had a biopsy of his left kidney, which was

malignant, and was told by Dr. Stephen J. Miller that the growth on his left kidney was originally

down low, and now it had moved up near where the urine collects, and needed to be removed.

       10. Mr. Nicholson’s left kidney was surgically removed on April 7, 2021.

       11. On April 27, 2021, Dr. Andrew Wilper informed Mr. Nicholson that the VA erred and

they could have saved his kidney in 2019.

       12. Mr. Nicholson lost his left kidney and will be on dialysis for the rest of his life.

       13. On September 2, 2021, Dr. Weppner wrote a letter to Mr. Nicholson stating the

following:

               Upon my chart review, as well as our most recent clinic visit, I can
               inform that you have a solitary kidney following a nephrectomy for
               a renal cell carcinoma that was seen on an MRI on 9/4/2019. As
               documented in the institutional disclosure from 4/26/2021, this was
               missed initially. When it was discovered on 3/9/2021, it was large
               enough to require a nephrectomy. As such, it is at least as likely as
               not that this delay in identification and removal of this tumor
               contributed to your current kidney disease.

       14. On June 29, 2021, Plaintiff filed a Notice of Tort Claim with the United States

Department of Veterans Affairs pursuant to the Federal Tort Claims Act, which was received by

Defendant on July 1, 2021.

       15. It has now been six months since Defendant’s receipt of the Notice of Tort Claim and

to date Plaintiff has not received any notification from the Office of Chief Counsel of the U.S.

Department of Veterans Affairs whether his claim has been denied by the United States

government.




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                                             COUNT ONE

                         Negligence Against the United States of America

        16. Plaintiff re-alleges and incorporates by reference the allegations in paragraphs 1-15

above as if fully set out herein.

        17. The medical treatment Plaintiff received at the VA was negligent and fell below the

standard of care owed to Plaintiff. This negligence was missing the growth on Mr. Nicholson’s

left kidney, which was visible on the MRI.

        18. The VA’s negligence was the direct and proximate result of Plaintiff’s injuries. These

injuries include the need for lifelong dialysis and/or additional surgeries, and extended pain and

suffering.

        19. As a direct and proximate result of the VA’s negligence, Plaintiff has sustained

economic and non-economic losses, which include but are not limited to: (a) Plaintiff’s past and

future medical expenses; and (b) Plaintiff’s pain and suffering. The precise amount of these

damages will be proven at the time and place of trial.

                                         COUNT TWO

                            Negligence Against Lynnsey Stewart, M.D.

        20. Plaintiff re-alleges and incorporates by reference the allegations in paragraphs 1-19

above as if fully set out herein.

        21. The medical treatment Mr. Nicholson received from Dr. Stewart was negligent and

fell below the standard of care by Dr. Stewart failing to see the growth on Mr. Nicholson’s left

kidney which was visible in the MRI, and telling Mr. Nicholson that he needed to walk more

because his pain was a result of a muscular issue.




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       22. Dr. Stewart’s negligence was the direct and proximate result of Plaintiff’s injuries,

which include lifelong dialysis and pain and suffering.

       23. As a direct and proximate result of Dr. Stewart’s negligence, Plaintiff has sustained

economic and non-economic losses, which include but are not limited to: (a) Plaintiff’s past and

future medical expenses; and (b) Plaintiff’s pain and suffering. The precise amount of these

damages will be proven at the time and place of trial.

                                     PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff respectfully prays for judgment against the Defendant as

follows:

               (1)     For all economic and non-economic damages sustained as a direct and

                       proximate result of the wrongful conduct of the Defendant, as referenced

                       above, all in amounts to be proven at the time and place of trial in this action;

               (2)     For all costs and attorney’s fees incurred in prosecution of this action,

                       pursuant to federal and Idaho law including, but not limited to, Federal Rule

                       of Civil Procedure 54(d); and

               (3)     For such other and further relief as the Court deems just and equitable.

                                         JURY DEMAND

       Pursuant to Federal Rule of Civil Procedure 38, Plaintiff demands a jury trial on all issues

and claims in this matter.

       Respectfully submitted this 7th day of January, 2022.

                                                       HEPWORTH HOLZER, LLP


                                                       By:     __/s/ John W. Kluksdal________
                                                               John W. Kluksdal
                                                               Attorneys for Plaintiff



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